 Case 3:18-cv-00033-GEC Document 29 Filed 06/17/19 Page 1 of 1 Pageid#: 206
                                                                           CLERKY OFFICE U.
                                                                                          S.DIST.Cœ R'r
                                                                                 AT ROANOKE,VA
                                                                                      FILED

                         IN THE UNITED STATES DISTRICT COURT                        JbN 1 2 2219
                        FOR Tlv W ESTERN D ISTRICT OF V IR GW IA               JULIA       UDLEY LERK
                              CH ARI,OTTESVILLE D IV ISION                    BY:
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LYNDON W .L ON G,
                                                        CivilActionNo.3:180V00033
         Plaintifll
                                                        O RD ER O F D ISM ISSA L

DELHAIZE AM ERICA,IN C.,a/lc/a
FOOD LION ,lNC.,and                                     By: Hon.Glen E.Conrad
FOOD LION,LLC,                                          SeniorUnited StatesDistrictJudge

         Defendants.


         The courthasbefore itthe parties'stipulation ofdism issalfiled in this case plzrsuantto

Rule41(a)(1)(A)(ii)oftheFederalRulesofCivilProcedure.
     '
         Itisaccordingly,

                                  A D JU D G ED and O RDERED

thattheabove-styledmatterisDISM ISSED withprejudice,eachpattytopayitsown costsand
attom ey'sfees,and thiscaseisstricken from theactivedocketofthiscourt.

         The Clerk ishereby directed to send acertified copy ofthisorderto a11cotmselofrecord.

                Enterthis I-1       day ofJune, 2019.




                                              SerliorUnited StatesDistrictJudge
